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10                               UNITED STATES DISTRICT COURT
11                             NORTHERN DISTRICT OF CALIFORNIA
                                    SAN FRANCISCO DIVISION
12
      HUAWEI TECHNOLOGIES CO., LTD.,                  Case No. 16-cv-02787-WHO
13    HUAWEI DEVICE USA, INC., and
      HUAWEI TECHNOLOGIES USA, INC.,
14                                                    HUAWEI’S OPPOSITION TO
              Plaintiffs / Counterclaim-Defendants,   SAMSUNG’S MOTION TO PARTIALLY
15    v.                                              EXCLUDE THE REPORT AND
                                                      TESTIMONY OF JORGE PADILLA,
16    SAMSUNG ELECTRONICS CO., LTD.,                  MICHAEL J. LASINSKI, AND CHARLES
      SAMSUNG ELECTRONICS AMERICA,                    L. JACKSON AND TO STRIKE THE
17    INC.,                                           REBUTTAL OPINIONS OF JACQUES
                                                      DELISLE AND ZHI DING
18            Defendants / Counterclaim-Plaintiffs,
                                                      Hearing Date: August 8, 2018
19                   and                              Time: 2:00 PM
                                                      Judge: Hon. William H. Orrick
20    SAMSUNG RESEARCH AMERICA,
                                                         REDACTED VERSION OF
21            Defendant,                                 DOCUMENT SOUGHT TO BE
      v.                                                 SEALED
22
      HISILICON TECHNOLOGIES CO., LTD.,
23
                     Counterclaim-Defendant.
24

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 1            Plaintiffs Huawei Technologies Co., Ltd., Huawei Device USA, Inc. and Huawei
 2   Technologies USA, Inc. (collectively, “Huawei”) hereby oppose Samsung’s Motion to Partially
 3   Exclude the Report and Testimony of Jorge Padilla, Michael J. Lasinski, and Charles L. Jackson and
 4   to Strike the Rebuttal Opinions of Jacques deLisle and Zhi Ding (ECF No. 331-2, hereafter “Mot.”).
 5   I.       INTRODUCTION.
 6            Samsung’s motion seeks to skew the trial in its favor by excluding the well-supported and
 7   reliable testimony of Huawei’s expert witnesses whose qualifications it does not contest. In
 8   attempting to reach this end, Samsung consistently mischaracterizes the experts’ opinions and the
 9   bases for them, and ignores that its own experts have offered parallel opinions on virtually all of the
10   topics Samsung now claims are inappropriate subjects for expert testimony. At best, Samsung’s
11   supposed criticisms of Huawei’s experts’ go to weight, not admissibility.
12            First, in seeking to exclude the testimony of Huawei’s licensing expert, Michael J. Lasinski,
13   that
14

15                                             Samsung mischaracterizes Mr. Lasinski’s central opinion on
16   the subject. Mr. Lasinski does not opine that
17            Instead, he opines that, if the facts are as he understands them to be (based on substantial
18   evidence),
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21                                                                                      Samsung may cross-
22   examine Huawei’s witnesses on that topic at trial, but contesting a factual issue is not grounds for
23   peremptorily excluding Mr. Lasinski’s opinions about the                       .
24            Second, Samsung mischaracterizes the opinions of Mr. Lasinski and Huawei economics
25   expert, Dr. Jorge Padilla, in suggesting that they have inappropriately opined on the meaning of the
26   FRAND commitment under French law. Neither has or intends to offer any such opinions. They
27   merely recount their understanding of the economic interpretation of “reasonable” and “non-
28   discriminatory” in the FRAND context, citing many of the same sources relied upon by Samsung’s


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 1   experts on the same subject. Likewise, their discussions of the parties’ negotiation history is both
 2   reliable and appropriate subject matter for expert testimony given their areas of expertise and the
 3   complexities of this case. Indeed, Samsung’s experts include parallel discussions in their reports.
 4            Third, Samsung’s suggestion that Dr. Padilla’s opinions are offered to “improperly bolster”
 5   Mr. Lasinski’s reports is wrong. Dr. Padilla opines on the economic framework for assessing
 6   FRAND issues that inform Mr. Lasinski’s work, but he does inappropriately vouch for Mr. Lasinski.
 7            Fourth, Samsung’s claim that Dr. Jackson’s essentiality database is unreliable is factually
 8   and legally baseless. As an initial matter, the law is clear that Dr. Jackson could properly rely on the
 9   database even if it was prepared without his involvement. But, here, Dr. Jackson (and another
10   testifying expert, Dr. Zhi Ding) were involved in overseeing the database’s preparation and can
11   defend its overall reliability, which Samsung has not undermined in any way.
12            Fifth, Samsung’s objection to Mr. Lasinski’s approach to measuring SEP portfolio strength
13   rests on a misperception of the purpose for which that measure is principally used – that is, to
14   measure relative (rather than absolute) portfolio strength for purposes of analyzing comparable
15   license agreements – and it ignores both the evidentiary support for Mr. Lasinski’s approach and the
16   statistical analysis that was done to establish its reliability. Mr. Lasinski’s measure of relative
17   portfolio strength accounts for both a firm’s number of contributions that were approved for
18   incorporation into the relevant standards (which is highly correlated to a firm’s SEP holdings) and
19   the number of patent families judged to be essential that include coverage in the three key worldwide
20   jurisdictions—the U.S., Europe, and China, where a very high percentage of smartphones are sold
21   and made. The approach is analytically sound and produces consistent and logical results.
22            Finally, Samsung’s objection to the rebuttal report of Dr. Jacques deLisle is unfounded. Dr.
23   deLisle’s report explains the Shenzhen court proceedings that led to the issuance of injunctive relief
24   in Huawei’s favor, and responds directly to claims by Samsung’s experts that Huawei’s injunction
25   actions in China will permit it to extract supra-FRAND royalties from Samsung.1
26   1
       Samsung’s objection (Mot. 22) to the portions of the rebuttal report of Dr. Zhi Ding in which he
     compares Huawei’s asserted patents to those of                   , is also unfounded. Dr. Ding offered
27   these opinions in the expectation Samsung’s expert Dr. Leonard would use the same methodology
     based on the supposed value of                   patents to value Huawei’s asserted patents in his
28


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 1   II.      APPLICABLE LAW.
 2            Fed. R. Evid. 702 allows admission of “scientific, technical, or other specialized knowledge”
 3   by a qualified expert if it will “help the trier of fact to understand the evidence or to determine a fact
 4   in issue.” Expert testimony is admissible if it is both relevant and reliable. Daubert v. Merrell Dow
 5   Pharms., Inc., 509 U.S. 579, 589 (1993).2 A district court “is given as much discretion in how it
 6   determines if testimony is reliable as it is given in determining whether testimony is reliable.”
 7   Speicher v. Union Pac. R.R., No. C07-5524-RBL, 2009 WL 250026, at *3 (W.D. Wash. Feb. 2,
 8   2009) (citing Kumho Tire Co. v. Carmichael, 526 U.S. 137, 150 (1999)). In determining reliability,
 9   a court should attempt to “rule not on the correctness of the expert’s conclusions but on the
10   soundness of the methodology.” Moussouris v. Microsoft Corp.¸ No. C15-1483JLR, 2018 WL
11   2124019, at *6 (W.D. Wash. Apr. 25, 2018).
12            Ultimately, the inquiry into admissibility of expert opinion is a “flexible one,” where
13   “[s]haky but admissible evidence is to be attacked by cross examination, contrary evidence, and
14   attention to the burden of proof, not exclusion.” Primiano v. Cook, 598 F.3d 558, 564 (9th Cir.
15   2010). “Under Daubert, the district judge is 'a gatekeeper, not a fact finder.’ When an expert meets
16   the threshold established by Rule 702 . . . the expert may testify and the jury decides how much
17   weigh to give that testimony.” Id. at 564-65 (quoting United States v. Sandoval-Mendoza, 472 F.3d
18   645, 654 (9th Cir. 2006).
19   III.     ARGUMENT.
20            A.     Mr. Lasinski’s Analysis of the                              Is Supported and Reliable.

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26   rebuttal report that he used to value Samsung’s asserted patents in his opening report. Dr. Leonard
     did not do so, and so long as Samsung does not seek at trial to argue that the                patents
27   should be used as a benchmark for valuing Huawei’s patents, Huawei does not intend to elicit
     testimony from Dr. Ding on that subject.
     2
28     In patent cases, a court’s decision to admit expert testimony under Daubert is governed by the law
     of the regional circuit. Micro Chem., Inc. v. Lextron, Inc., 317 F.3d 1387, 1390-91 (Fed. Cir. 2003).

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 1          Dr. Padilla likewise does not purport to interpret FRAND as a matter of French law, but
 2   rather offers the same kind of economic interpretation of FRAND principles that Drs. Leonard and
 3   Hausman offer. Compare Stake Ex. 2 ¶¶ 3.22-3.35 to Stake Ex. 8 ¶¶ 23-33, 99 and Ex. 8 ¶¶ 7, 10
 4   n.35. Samsung’s claim that Dr. Padilla failed to offer any support for his opinion that for a
 5   difference in license terms to be discriminatory it must be of sufficient magnitude to affect
 6   competition (Mot. 7-8) is mistaken. As Dr. Padilla explained, it is broadly recognized that the non-
 7   discrimination obligation does not require that firms receive identical terms. Indeed, the court in
 8   TCL Commc’n Tech. Holdings, Ltd. v. Telefonaktiebolaget LM Ericsson recently concluded that the
 9   drafters of the ETSI IPR Policy “did not intend non-discriminatory to ensure the exact same
10   treatment or identical license terms for all licensees to the same portfolio of essential patents” and
11   held that “no single rate that is necessarily FRAND, and different rates offered to different licensees
12   may well be FRAND.” No. 14-cv-00341-JVS (DFMx), 2017 WL 6611635 at *55 (C.D. Cal. Dec.
13   21, 2017) (internal quotations omitted). The issue thus becomes what level of difference is required
14   to establish impermissible discrimination. Consistent with the underlying purpose of FRAND
15   commitments to prevent distortion of competition in the markets for standard-compliant products,
16   Dr. Padilla opines that the difference must be of sufficient magnitude to harm downstream
17   competition among similarly situated licensees.12 Stake Ex. 2 ¶ 3.35; Stake Ex. 6 ¶¶ 3-4. Far from
18   being unsupported, this interpretation is consistent with the treatment of discrimination under
19   competition law, and is supported by a seminal article on the economics of SEPs authored by
20   William Baumol and Daniel Swanson in the Antitrust Law Journal in 2005. Stake Ex. 6 ¶ 4; Ex. 9 at
21   171:5-16. Dr. Leonard repeatedly cites the same article. See Stake Ex. 8 ¶¶ 30 n.28, 72 n.85.
22          C.      Mr. Lasinski and Dr. Padilla Do Not Inappropriately Summarize Negotiations

23          Samsung’s claim that Mr. Lasinski and Dr. Padilla inappropriately summarize the parties’

24   negotiation history and speculate on witnesses’ state of mind (Mot. 9) are misplaced. Mr. Lasinski

25
     he interprets to “mean[] that the royalties that a company receives for its SEPs should be
26   proportional, after accounting for differences in portfolio quality, to the royalties that it pays to other
     SEP holders.” See, e.g., Stake Ex. 8 ¶ 99.
27   12
        Dr. Padilla’s position is consistent with TCL, where the court held that “harm to the competitor
     firm offered discriminatory rates is sufficient” for a FRAND violation. 2017 WL6611635 at *49.
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 1   merely recites the terms of the parties’ offers over time, the details of which are not seriously
 2   disputed, and analyzes them in relation to comparable agreements. Stake Ex. 1 ¶¶ 81, 155-81. Dr.
 3   Leonard provides a similar (albeit less neutral13) chronology in a section of his opening report
 4   entitled “Negotiations Between the Parties.” Stake Ex. 8 ¶¶ 151-157. Dr. Hausman’s report
 5   includes an even more argumentative section entitled “Huawei’s Inconsistent Negotiation Positions,”
 6   in which he criticizes Huawei for allegedly making it “difficult for Samsung as a prospective
 7   licensee to understand what was being offered on what terms” and concludes based on his “review[]
 8   of the negotiation history between the parties” that Samsung did not unreasonably delay
 9   negotiations. Ex. 10 ¶¶ 20-32. Given that this dispute centers, in large part, on the parties’ offers, it
10   is hardly improper for Mr. Lasinski to summarize the terms which are the focus of his analysis.
11           Dr. Padilla’s report includes a more complete recitation of his understanding of the parties’
12   negotiation positions, which he analyzes through an economic lens to assess whether Huawei’s
13   conduct is consistent with a strategy of patent hold-up (as Samsung’s experts claim) and whether
14   Samsung’s conduct is consistent with a strategy of patent hold-out (where a putative licensee refuses
15   to pay a FRAND royalty or delays negotiations in an attempt to force the SEP holder to take less-
16   than-FRAND terms). Stake Ex. 2 ¶¶ 6.1-6.16. The phenomenon of patent hold-up and hold-out are
17   well recognized and debated in economics. Stake Ex. 2 ¶¶ 3.8-3.16; Stake Ex. 3 ¶ 5.12 & n.40.
18           Dr. Padilla also considers his understanding of each party’s negotiation conduct to assess
19   whether it is consistent with (1) a willing or unwilling licensor of their own SEPs and (2) a willing or
20   unwilling licensee of the other parties’ SEPs. Stake Ex. 2 ¶¶ 3.8-3.16. The willing/unwilling
21   terminology has been frequently used in describing the conditions under which injunctive relief on
22   SEPs may be appropriate.14 In analyzing the parties’ willingness or unwillingness, Dr. Padilla has
23   not attempted to divine their states of mind (Ex. 9 at 103:20 (“I cannot read Samsung’s mind”)), but
24   has examined objective indicia of constructive negotiation behavior, i.e., whether they have: (1)
25   made an SEP licensing proposal; (2) responded to the counterparty with a revised proposal in a
26   13
        Notably, in forming his opinions, Dr. Leonard failed to review a single deposition of a Samsung
27   witness. Ex. 5 at 74:8-13, 77:1-23.
     14
        See, e.g., Ex. 15 at 6 (Google-Motorola consent decree with the FTC regarding enforcement of
28   SEPs); Ex. 14 ¶¶ 66-69, 122-23 (Samsung Commitment to European Commission); Ex. 16 ¶ 71
     (Ohlhausen, The Exclusive Role of Competition in the Standard-Setting Antitrust Debate).

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 1   timely fashion; and (3) made adjustments to proposals following receipt of new information such
 2   that there is some convergence in the offers of the two parties. Stake Ex. 2 ¶ 6.2. This framework is
 3   based on extensive economic literature relating to bargaining theory. Ex. 9 at 27:6-28:5. Dr. Padilla
 4   concludes that, given the facts as he understands them, Samsung’s conduct is consistent with patent
 5   hold-out and with it being an unwilling licensee and unwilling licensor. Stake Ex. 2 ¶¶ 6.3-6.8.
 6   Conversely, he concludes Huawei’s conduct is not consistent with patent hold-up (as Samsung’s
 7   experts claim) and is consistent with it being a willing licensor and licensee. Id. ¶¶ 6.9-6.16.
 8           Given the nature of this case, Dr. Padilla’s testimony is both appropriate and admissible. An
 9   expert witness may testify about ultimate issues of fact, but “cannot give an opinion as to her legal
10   conclusion—i.e. an opinion on an ultimate issue of law.” Microsoft Corp. v. Motorola, Inc., No.
11   C10-1823JLR, 2013 WL 4008822, at *11 (W.D. Wash. Aug. 5, 2013) (quotation omitted). Dr.
12   Padilla is not offering opinions on ultimate issues of law, but even if the terminology he uses were
13   deemed legal in some sense, his testimony would be permissible as it will undoubtedly be helpful to
14   jury in understanding and applying the unfamiliar concepts at issue here. Id. at *12 (“[I]n a more
15   complicated case or a case dealing with a concept less familiar to ordinary jurors, expert testimony
16   on an ultimate issue may be useful for ‘guiding the trier of fact through a complicated morass of
17   obscure terms and concepts.’”) (quoting United States v. Duncan, 42 F.3d 97, 101-02 (2d Cir.
18   1994)). Indeed, in closely analogous circumstances, the court in Microsoft permitted expert
19   testimony that a SEP holder’s licensing offers were made in “good faith.” Id. at *19. The court
20   noted the case (like this one) was “complicated” and that “the jury [would] be asked to hear, among
21   other things, evidence regarding offer letters of patent portfolios, industry royalty rates and ranges
22   determined by analysis of those patent portfolios, and the legal framework surrounding RAND
23   licensing both domestic and abroad.” Id. There, the court found that the expert’s opinions, which
24   (like the challenged opinions of Dr. Padilla) “piece[d] together the evidence heard by the jury into an
25   opinion on the issue of good faith, [would] assist the trier of fact in reaching its own decision on the
26   issue of good faith” and were therefore admissible. Id. So too with Dr. Padilla’s opinions.15
27   15
      Dr. Padilla’s challenged testimony stands in contrast to the testimony of Samsung’s experts, Mr.
     Davies and Dr. Hausman, which cross the line from opining on ultimate issues of fact to offering
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 1          Finally, while both Mr. Lasinski and Dr. Padilla discuss aspects of the parties’ negotiations
 2   (as do Samsung’s experts), it is not Huawei’s intention to use its experts’ testimony as a substitute
 3   for necessary fact witness testimony on underlying facts. Although Samsung fails to identify any
 4   inaccuracy in Mr. Lasinski’s description of the offers exchanged between the parties or Mr. Padilla’s
 5   neutral recitation of negotiation history (based almost entirely on Samsung’s own admissions),
 6   Samsung will be free to challenge Mr. Lasinski and Dr. Padilla on cross-examination.
 7          D.      Dr. Padilla Does Not Improperly “Bolster” Mr. Lasinski’s Testimony.

 8          Samsung seeks to strike two portions in Dr. Padilla’s rebuttal reports where he comments on

 9   methodologies Mr. Lasinski has employed to perform his analysis. Mot. 10-11. There is nothing

10   improper about these opinions. Dr. Padilla is neither acting as a “mouthpiece of a scientist of a

11   different specialty” nor providing “expert testimony that is needlessly cumulative or that simply

12   bolsters” another expert’s testimony. Id. Instead, Dr. Padilla offers an economist’s perspective on

13   the correct approaches to two tasks: analyzing comparable licenses and assessing patent portfolio

14   strength. Stake Ex. 3 ¶¶ 2.4, 2.8, 3.9, 4.5. Dr. Padilla laid out an economic framework for analyzing

15   comparable licenses in his opening report and, in his rebuttal report, criticized Dr. Leonard’s failure

16   to analyze a comprehensive set of license agreements in reaching the conclusion that Huawei’s offer

17   to Samsung was not FRAND. Id. ¶¶ 2.1-2.3, 3.5-3.7. In doing so, Dr. Padilla merely observed

18   (accurately) that Mr. Lasinski’s approach to analyzing comparables was more in line with the

19   economic framework for assessing FRAND royalties Dr. Padilla set forth in his opening report. Id.

20   ¶¶ 2.4, 3.9. With respect to portfolio strength, after reviewing various available metrics, Dr. Padilla

21   noted that economic “research has shown that several of these different approaches can be used

22   simultaneously and in combination to more effectively measure patent value,” id. ¶ 4.5, which he

23   further noted is consistent with Mr. Lasinski’s approach of considering a combination of patent and

24   contribution data. In offering these opinions, Dr. Padilla is not vouching for Mr. Lasinski’s

25   conclusions, but rather bringing to bear his economic expertise on Mr. Lasinski’s methodologies.

26

27   unfounded interpretations of the law and legal conclusions. See ECF No. 327-6; Stake Ex. 18 ¶ 27
     (opining that pursuit of an injunction for infringement of an SEP as to which there were ex ante
28   alternatives “would be a violation of antitrust regulations”); Ex. 10 ¶ 56 (opining that obtaining
     higher royalties through seeking an injunction is “a violation of Section 2” of the Sherman Act”).

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 1           E.     The Court Should Deny Samsung’s Motion to Exclude Dr. Jackson’s Report.
 2           Samsung moves to exclude “Dr. Jackson’s report, and the use of the Concur IP database by
 3   Huawei,” “along with any opinions proffered by Mr. Lasinski and Dr. Ding who rely on Concur IP’s
 4   essentiality determinations.” Mot. 11-14. Samsung’s motion lacks merit for the following reasons.
 5                  1.      Samsung’s argument based on Dr. Jackson’s involvement is baseless.
 6
             Samsung’s argument that testimony stemming from the Concur IP database should be
 7
     excluded because Dr. Jackson did not personally construct it, see Mot. 11-14, is without merit. The
 8
     Supreme Court observed that “[u]nlike an ordinary witness … an expert is permitted wide latitude to
 9
     offer opinions, including those that are not based on first hand knowledge.” Daubert, 509 U.S. at
10
     592. The Ninth Circuit has made clear that the fact that an expert’s opinions “are based on data
11
     collected by others is immaterial.” See Southland Sod Farms v. Stover Seed Co., 108 F.3d 1134,
12
     1141-42 (9th Cir. 1997) (emphasis added). In fact, the Ninth Circuit has rejected the argument
13
     Samsung makes here: that an expert’s “testimony is scientifically unreliable as a matter of law
14
     because he did not personally do any of the work upon which his opinions are based, he did not
15
     submit any portion of his opinions for peer review, and the tests upon which his opinions are based
16
     were undertaken solely for the purpose of litigation.” Id.16
17
             Samsung also accuses Dr. Jackson of acting as the “mouthpiece” for another expert, Dr.
18
     Apostolos Kakaes, Mot. 13-14, but Samsung has not identified any opinions of Dr. Kakaes that Dr.
19
     Jackson is allegedly parroting. The Concur IP database is not an opinion; it is data that Dr. Jackson
20
     may properly rely upon in forming his opinions even if Dr. Jackson lacked involvement in its
21
     collection. See Southland, 108 F.3d at 1141-42. Equally important, Dr. Jackson’s expert reports
22
     show that he offers his own opinions based on his own analysis. For instance, he carefully analyzes
23
     the methodology used to construct the database, assesses its reliability, compares the database to
24
     others in the field (including patent data collected by Dr. Leonard), assesses different patent portfolio
25
     16
       Other courts reach the same conclusion. See, e.g., Monsanto Co. v. David, 516 F.3d 1009, 1015
26   (Fed. Cir. 2008) (“numerous courts have held that reliance on scientific test results prepared by
     others may constitute the type of evidence that is reasonably relied upon by experts for purposes of
27   Rule of Evidence 703…”); S.E.C. v. Leslie, No. 5:07-CV-03444-JF, 2010 WL 2991038, at *9 (N.D.
     Cal. Jul. 29, 2010) (“An expert opinion may be based on data collected by others.”).
28


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 1   valuation metrics, and draws conclusions based on the data. See Stake Ex. 7 at 23-123; Ex. 11 pp. 4-
 2   26. Not once does Dr. Jackson parrot opinions by Dr. Kakaes.17,18
 3                  2.      Dr. Jackson’s patent database is reliable.
 4
             Samsung argues that Dr. Jackson’s patent database is unreliable because it did not have
 5
     sufficient quality control and has “murky” origins. Mot. 14. But Samsung never presents a full
 6
     picture of the database’s preparation, and provides no legal support for its oblique criticisms based
 7
     on two memory lapses by Dr. Jackson about inconsequential details during his 7-hour deposition.
 8
     Contrary to Samsung’s claim, Dr. Jackson’s patent database is reliable, was carefully prepared, and
 9
     provides exactly the type of information courts have heavily relied upon for FRAND determinations.
10
             Dr. Jackson explains in detail his expert report each step taken to prepare the patent database.
11
     See Stake Ex. 7 at 99-113. In brief, a team of professionals from Concur IP with engineering
12
     degrees and experience in preparing patent landscaping studies prepared a “census” of all patents
13
     that had been declared to ETSI as essential to 2G, 3G, and 4G wireless standards. The census step
14
     was “primarily a database organization, clean-up, and cross-referencing task” that involved
15
     downloading ETSI declarations from the official ETSI IPR Online Database and organizing them in
16
     a single spreadsheet. See Stake Ex. 7 at 100-01. The second step involved comparing the patents
17
     declared as essential to the LTE standards to assess whether the declaration of essentiality was well-
18
     founded. Id. at 110-13. The Concur IP team was not informed about the identify of either party in
19
     this case. While not legally required, Drs. Jackson and Ding were extensively involved in
20
     preparation of the database. They reviewed and edited Concur IP’s database-preparation protocol,
21
     Dr. Jackson personally met with the Concur IP team in India for several days to discuss the project,
22
     17
        Samsung’s allegation that Huawei is trying to shield Dr. Kakaes or Concur IP from cross-
23   examination is equally baseless. Mot. 13. Samsung never sought to depose Dr. Kakaes or any
     Concur IP professionals, despite being aware of their involvement. Stake Ex. 7 at 1, 111. By
24   contrast, in the TCL case, Ericsson sought to depose Concur IP individuals during the discovery
     period, and was permitted to do so. TCL Commc’ns. Tech Holdings Ltd. v. Telefonaktenbologet LM
25   Ericsson, No. CV 15-02370 JVS, 2016 WL 6662727, at *1 (C.D. Cal. July 7, 2016). It is not
     Huawei’s obligation to force Samsung to notice depositions, or to ask individuals who will not
26   testify to prepare reports. Fed. R. Civ. P. 26(a)(2)(A) (expert reports required for trial witnesses).
     Accordingly, the only “shield” preventing cross-examination here has been Samsung’s inaction.
27   18
        Samsung’s suggestion that Dr. Kakaes “not appear[ing] here” as an expert is improper, see Mot.
     13, has no basis. Dr. Kakaes could not serve as an expert here due to a conflict.
28


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 1   they prepared a classification scheme used in the database, gave feedback and troubleshooting on
 2   weekly calls, reviewed difficult patents escalated for their advice, and spent dozens of hours
 3   analyzing the quality of the database and potential errors. Id. at 108, 110, 112-13; Ex. 11 pp. 4-5.
 4   The result is a database that provides useful information about the 3GPP patent landscape that both
 5   Huawei’s and Samsung’s experts have relied upon in this case.19
 6           Samsung does not contend that the database or Dr. Jackson’s opinions about it are not the
 7   result of reliable principles and methods, other than contending that Drs. Jackson and Ding provided
 8   “minimal quality control” in preparing the database. Mot. 14. Samsung identifies no legal authority
 9   that requires a study prepared by qualified professionals, such as the Concur IP team, to have any
10   oversight by other qualified professionals. To the contrary, the legal authority cited above shows
11   that such oversight is not required. See Southland, 108 F.3d at 1141–42 (rejecting argument that
12   “testimony is scientifically unreliable as a matter of law because [the testifying expert] did not
13   personally do any of the work upon which his opinions are based”). Even if such oversight were
14   required, Samsung cites no authority establishing that the extensive oversight Drs. Jackson and Ding
15   provided is insufficient. At best, Samsung’s challenge goes to the weight of the evidence, not its
16   admissibility.20 Daubert, 509 U.S. at 596.
17           Furthermore, Samsung does not identify any information about the database that it was
18   unable to discover from Dr. Jackson’s reports and deposition, other than two inconsequential details
19   Dr. Jackson did not remember. Mot. 12. It is irrelevant that Dr. Jackson could not remember who
20   prepared the first draft of the essentiality review protocol. Samsung does not identify any fault in
21   the final protocol used to prepare the database, which Dr. Jackson reviewed carefully and found to
22   be appropriate. It is also irrelevant which litigation the Kakaes database was initially used in. The
23
     19
24      Dr. Leonard initially attempted to prepare a similar database and relied upon it in his opening
     report, but the database suffered from a variety of glaring flaws, and so Dr. Leonard switched to
25   relying on Dr. Jackson’s database for purposes of his rebuttal report. See Ex. 11 at 5-19 (describing
     flaws in Dr. Leonard’s database); Stake Ex. 12 ¶ 8 n.3.
     20
26      Samsung also states that the court should “consider the known or potential rate of error.” Mot. 14.
     Dr. Jackson addressed this issue his reports. See Stake Ex. 7 p. 113. Further, the statistics Samsung
27   cites in its motion about the large number of patents present in the database, and the allegedly
     impossible task of reviewing them all, are misleading. See Id. p. 110. As Dr. Jackson explains in his
28   report, patents were grouped into families and reviewed on a family basis, resulting in a much
     smaller set of patents that were reviewed.

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 1   Kakaes database, which was developed in connection with Huawei’s arbitration with Ericsson, was
 2   produced to Samsung in discovery in this case on May 5, 2017, and Samsung does not identify any
 3   fault with it. Dr. Jackson’s inability to recall these two details during a 7-hour deposition provides
 4   no basis to exclude his report. Pension Comm. of Univ. of Montreal Pension Plan v. Banc of Am.
 5   Sec., LLC, 716 F. Supp. 2d 220, 227 n.45 (S.D.N.Y. 2010) (“lapses in memory are traditionally
 6   challenged through cross-examination and do not render his opinion testimony unreliable”) (citing
 7   Daubert, 509 U.S. at 596). Moreover, the information Dr. Jackson provided about how the database
 8   was prepared distinguishes this case from the Eveler v. Ford Motor Co. case Samsung cites, where
 9   an expert relied on tests conducted by another expert but did not know basic, crucial information
10   about the tests. No. 16-14776, 2017 WL 3382460, at *6-9 (E.D. La. Aug. 7, 2017).
11           Finally, the most on-point legal authority shows that Dr. Jackson’s patent database is reliable
12   and is exactly the type of information courts heavily rely upon for FRAND determinations. In TCL,
13   the court resolved FRAND claims and determined a FRAND royalty rate by relying, in large part, on
14   a similar patent database (and related expert opinions) prepared by Concur IP under the supervision
15   of Drs. Ding and Kakaes. 2017 WL 6611635, at *17-18. The court rejected several challenges to
16   the methodology of preparing the database, including challenges to Concur IP’s qualifications and
17   based on the large number of patents reviewed. Id. The TCL case thus strongly indicates that Dr.
18   Jackson’s opinions based on the patent database are relevant and admissible.21
19                  3.      Samsung’s request for relief with respect to Dr. Jackson overreaches.
20
             Samsung requests that the Court exclude “Dr. Jackson’s report,” but fails to mention that the
21
     report contains many opinions not directed at the patent database. Samsung also requests that the
22
     Court exclude any testimony proffered by Huawei’s experts related to the patent database, but fails
23
     to mention that Samsung’s own experts offer testimony based on the patent database as well. See
24
     Stake Ex. 12 ¶ 4 n.3. Though for the reasons stated above Samsung’s requests to exclude Dr.
25

26   21
       Samsung cites TCL for the proposition that an expert’s “limited involvement” with the creation of
27   a patent database is “problematic.” Mot. 13 (citing TCL Commc’ns Tech. Holdings Ltd. v.
     Telefonaktenbologet LM Ericsson, 2016 WL 6662727, at *2 (C.D. Cal. July 7, 2016)). But the TCL
28   court declined to strike the expert’s opinion on that basis, and ultimately relied upon the expert’s
     opinions based on the database in reaching its decision on the FRAND rate for Ericsson’s patents.

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 1   Jackson’s database should be denied, if the Court excludes any opinions based on Dr. Jackson’s
 2   database, it should also exclude Samsung’s expert’s opinions that rely upon that database.
 3          F.      Mr. Lasinski’s “Indicators of Portfolio Strength” Are Reliable And His Analysis
                    Using Those Indicators Is Admissible.
 4
            Samsung seeks to exclude Mr. Lasinski’s analysis of whether the parties’ offers complied
 5
     with FRAND principles, and his opinion concerning the FRAND terms and conditions of a United
 6
     States SEP cross-license, on the grounds that the measures of patent portfolio strength Mr. Lasinski
 7
     used are unreliable. Mot. 14-20. Samsung’s motion rests on a misperception of Mr. Lasinski’s use
 8
     of the challenged portfolio strength indicators, and its criticisms of Mr. Lasinski’s analysis are
 9
     unfounded. Samsung’s assertions, at best, go to the weight of this testimony, not its admissibility.
10
     GPNE Corp. v. Apple, Inc., No. 12-CV-02885-LHK, 2014 WL 1494247, at *7 (N.D. Cal. April 16,
11
     2014) (admitting SEP damages analysis based on challenged patent counting methodology and
12
     concluding that such testimony can be “attacked by cross examination, contrary evidence, and
13
     attention to the burden of proof, not exclusion.”) (citing Daubert).
14
                    1.      Mr. Lasinksi’s approach to assessing relative portfolio strength.
15
            In assessing whether the parties’ offers were consistent with FRAND, Mr. Lasinski
16
     performed two central analyses. First, he identified the most comparable of the parties’ license
17
     agreements, which provide the best indication of FRAND terms for a license to the parties’
18
     portfolios. Because these agreements are generally cross-licenses in which one party made a lump-
19
     sum payment (or series of payments) to the other, Mr. Lasinski “unpacked” them to determine the
20
     implicit one-way royalty rates each party paid the other. The basic formula used in such
21
     “unpacking” is well-recognized. Stake Ex. 1 ¶¶ 105-07; TCL, 2017 WL 6611635, at *34 (describing
22
     methodology for unpacking cross-license agreements). In order to unpack a cross-license agreement
23
     using this formula, it is necessary to estimate the relative strength of the two parties’ licensed patent
24
     portfolios. Stake Ex. 1 ¶ 107. Mr. Lasinski refers to the measure of relative portfolio value as the
25
     “Portfolio Strength Ratio.” Id. ¶ 106.
26
            Second, Mr. Lasinski estimated the FRAND royalty rates to which Huawei and Samsung
27
     would be entitled using a “top down” methodology. A “top down” approach begins with an
28


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 1   assumption regarding the aggregate industry-wide royalty rate that should be paid to all patent
 2   holders to implement the standard and then divides that rate among the different patent holders based
 3   on relative portfolio strength. There is little disagreement among the experts in this case as to the
 4   appropriate aggregate rate that should be used for this purpose; Dr. Leonard opines that the
 5   appropriate aggregate royalty rate to be paid to all holders of LTE SEPs should be 5% whereas Mr.
 6   Lasinski opines that the aggregate royalty rate should be 6% in keeping with the lower bound of the
 7   range used in TCL and Dr. Leonard’s prior testimony. Stake Ex. 1 ¶¶ 93-100; Stake Ex. 4 ¶¶ 44-49.
 8           As an input into both of these analyses, Mr. Lasinski constructed an index that assigned each
 9   patent holder a relative shares of the value of the relevant standards based on two metrics: (1) the
10   number of patent families the firm holds that were judged to be essential to the relevant standard in
11   Dr. Jackson’s patent study and that contain at least one issued patent in all three of the U.S., Europe,
12   and China (“Global Deemed SEPs”); and (2) the number of technical contributions the firm made
13   during the 3GPP standard setting process that were approved for incorporation into the standard
14   (“Approved Contributions”). Mr. Lasinski carefully evaluated the extent to which these metrics
15   could be used to reliably interpret the parties’ licensing agreements and he performed a statistical
16   analysis to determine what weighting they should each be given in the index in order to produce the
17   most coherent results. Stake Ex. 1 ¶¶ 82-92. This statistical analysis, which is set forth in Appendix
18   D to Mr. Lasinski’s initial report, shows that a combination of Global Deemed SEPs and Approved
19   Contributions produces more coherent results in unpacking the parties’ license agreements than
20   either metric alone, and further that the most coherent results (as measured by the lowest standard
21   deviation among the implied industry-wide aggregate rates derived from unpacking the relevant
22   agreements of interest) are obtained by weighting the number of Global Deemed SEPs at 75% and
23   the number of Approved Contributions at 25% in constructing the index.22 Stake Ex. 1 App. D.
24   22
        In his rebuttal report, Dr. Leonard, suggested two alternative approaches to assessing relative
     portfolio strength, one in which he calculates regional weighted “family shares” and another in
25   which he calculates “citation weighted” shares purporting to account for the number of forward
     citations each of the firm’s U.S. patents received. Ex. 12 ¶¶ 50-61. He separately suggested that,
26   rather than evaluate the consistency of the results obtained using the different proposed approaches
     to portfolio strength by evaluating the standard deviation among the implied aggregate rates derived
27   using those metrics to unpack the parties’ license agreements, a better approach would be to compare
     the average implied aggregate royalty rate across all of the license agreements examined to the
28


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 1   as high as 0.52).” Ex. 19 p. 125. These results are consistent with other studies finding (1) a robust
 2   relationship exists between the level of inventors’ participation in standard setting and their success
 3   obtaining SEPs and (2) that the SEPs of inventors that participate in the standard-setting process are
 4   more valuable, on average, that the SEPs of non-participants. Ex. 11 pp. 36-37, 40-41 (discussing
 5   Kang, B. & Kazuyuki, M. “Determinants of essential intellectual property rights for wireless
 6   communications: Manufacturing firms v. non-manufacturing patentees” (2012) and Kang, B. &
 7   Bekkers, R. “Just-in-time patents and the development of standards,” Research Policy 44 (2015)).
 8          The relevance of Approved Contributions is further confirmed by the fact that many industry
 9   firms—                      —have used them to assess portfolio strength in licensing negotiations.
10   Stake Ex. 1 ¶¶ 89-90. For example, in addition to Huawei, Ericsson (with whom both Samsung and
11   Huawei have relevant license agreements) relies on approved contributions to measure relative
12   portfolio strength in its license negotiations. Id. ¶ 89 n. 204 (quoting Ericsson employee regarding
13   superiority of approved contributions relative to other portfolio strength metrics). Indeed, in its
14   negotiations with Huawei,
15

16                                   Ex. 20 p. 2 (HW_Samsung_00692900).
17

18                                                  Id. p. 6 (HW_Samsung_00692901) &
19   HW_Samsung_00692908; Ex. 3 at 185:12-186:2.
20                                                           use of contributions to unpack and interpret
21   the resulting license agreement is entirely sensible.
22          None of Samsung’s attacks on Mr. Lasinski’s use of Approved Contributions has any merit.
23   For example, Samsung’s claims that “[a] party that dominates in standard-setting bodies, but has no
24   SEPs, would nonetheless be deemed by Mr. Lasinski’s measure to have a strong patent portfolio”
25   and that “a party that [has] a robust SEP portfolio but declined to participate in standard-setting
26   bodies would get zero credit under Mr. Lasinski’s proposed measure” (Mot. 15) reflect Samsung’s
27   fundamental misunderstanding of Mr. Lasinski’s approach. Because Mr. Lasinski adjusts each
28   company’s share downward to account for patent expirations, a firm that has no active SEPs would


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 1   be assigned no portfolio strength even if had made a large number of contributions. Stake Ex. 1 ¶ 91
 2   n. 213 & Sched. 21.2. Conversely, because Mr. Lasinski uses an index that combines deemed
 3   essential patent counts with Approved Contributions, a firm with a robust portfolio of SEPs but no
 4   contributions would still be assigned significant patent value.24
 5           Samsung’s claim that considering Approved Contributions adds nothing when one already
 6   has counts of deemed essential patents (Mot. 18) is also demonstrably wrong. Mr. Lasinski’s
 7   analysis shows that using a portfolio strength metric that combines both counts of deemed essential
 8   patents (which are necessarily extrapolations given the number of patents involved) and Approved
 9   Contributions produces more coherent and consistent results than either metric yields on its own
10   (and than either of the alternative portfolio strength metrics suggested by Dr. Leonard). Stake Ex. 1
11   ¶ 91 & App. D; Stake Ex. 4 ¶ 64; Stake Ex. 5 ¶¶ 6-10. Indeed, Samsung’s observation of the
12   disparities between the numbers of different firm’s contributions and their deemed SEPs (Mot. 18)
13   explains why considering both patents and contributions yields more robust, reliable results. For
14   example, although Mr. Lasinski found that Ericsson’s 4G SEP portfolio was only twice the size of
15   InterDigital’s based on the number of deemed essential patents they hold, he found that
16

17                 Stake Ex. 1 Scheds. 21.2, 6.1, 10.1. This supports the conclusion that, on average,
18   Ericsson’s patents were more valuable than InterDigital’s, which is correlated with Ericsson’s
19   outsized involvement in standard-setting relative to InterDigital. Id. Sched. 21.2. This conclusion is
20   also consistent with study results indicating that SSO participants’ SEPs are, on average, more
21   valuable than the SEPs of non-participants. Ex. 11 pp. 40-41.
22           Finally, neither the decision in TCL v. Ericsson nor Dr. Padilla’s deposition testimony
23   supports rejecting Mr. Lasinski’s use Approved Contributions. In TCL, the court did not rule that
24   analyses based on Approved Contributions were inadmissible25, but concluded as a finder of fact that
25
     24
26      For example, a party with 10% of the deemed essential patents to a given standard but no
     contributions would be found under Mr. Lasinski’s analysis to have 7.5% of the overall value of the
27   standard—i.e., (10% of deemed essential patents x 75% patent weighting factor) + (0% of
     contributions x 25% contribution weighting factor) = 7.5% portfolio strength metric.
     25
28      The TCL court relied on contributions to unpack at least one agreement. 2017 WL 6611635 at
     *45.

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 1   there were two “flaws” with the use of approved contributions advanced in that case: (1) the
 2   absence of any evidence that it correlates contributions with SEP portfolio value; and (2) the
 3   “inability” to address transferred or expired patents using Approved Contributions. TCL, 2017 WL
 4   6611635, *41. Mr. Lasinski specifically addressed each of these concerns in his analysis. As to the
 5   correlation between Approved Contributions with value, Mr. Lasinski’s analysis demonstrates that
 6   his blended index of Approved Contributions and deemed essential patents produces the most
 7   consistent results in analyzing the parties’ historical license agreements which directly reflect the
 8   value of their portfolios. Stake Ex. 1 ¶¶ 88-91 and App. D. Mr. Lasinski likewise addressed the
 9   impact of expirations and transfers on each company’s portfolio in the construction of his portfolio
10   strength index. The effect of transfers are picked up in Dr. Jackson’s patent study (the results of
11   which are given 75% of the weight in Mr. Lasinski’s analysis) and Mr. Lasinski made explicit
12   adjustments to the weights assigned on the basis of Approved Contributions to account for patent
13   expirations. Stake Ex. 1 ¶ 91 n.213, Scheds. 21.3-5. Thus the TCL court’s concerns with Approved
14   Contribution analysis presented there do not justify excluding Mr. Lasinski’s opinions here.
15           Nor does Dr. Padilla’s deposition testimony warrant exclusion of Mr. Lasinski’s use of
16   Approved Contributions. To the contrary, while Dr. Padilla acknowledged that there is no peer-
17   reviewed, published study establishing a specific correlation between Approved Contributions and
18   portfolio value, Dr. Padilla did not single out approved contributions as uniquely needing to be
19   “taken with pinch of salt” as Samsung incorrectly suggests.26 Mot. 19. Instead, Dr. Padilla testified
20   that there is dissatisfaction among economists with all of the available measures used to assess
21   portfolio value, including those proposed by Dr. Leonard. He thus testified:
22                  [M]y view at this stage is that since there no perfect proxy, all of these
                    [methods for assessing portfolio value] are useful and potentially
23
     26
24     The absence of a published, peer-reviewed study supporting Mr. Lasinski’s specific approach,
     which has been developed to address the issues unique to this case, is no impediment to its
25   admissibility given the detailed description of his methodology that Mr. Lasinski has provided and
     given the acknowledged reliance on approved contributions in SEP licensing by at least a minority
26   of firms in the field and the general academic support for the relationship between contributions,
     SEPs, and portfolio value set forth in Dr. Jackson’s reports. See Clausen v. M/V New Carissa, 339
27   F.3d 1049, 1056 (9th Cir. 2003) (holding that opinions developed expressly for litigation and not
     subject to peer-review and publication are admissible so long as the expert explains precisely how
28   they went about reaching their conclusions and there is some objective source to show that they have
     followed a method recognized by at least a minority of experts in their field).

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 1                  informative, but all of them should be taken with a pinch of salt.
 2   Ex. 9 at 34:18-23 (emphasis added). In his rebuttal report, Dr. Padilla specifically recognizes that

 3   “contribution counting has been considered by several authors and companies to be a useful tool to

 4   assess the relative strength of patent portfolios” and noted that it “has the virtue of being based on

 5   publicly-available and verifiable information.” Stake Ex. 3 ¶ 4.2(c). As discussed above, Dr. Padilla

 6   ultimately concludes that an approach of “combining the essentiality study of Dr. Jackson with the

 7   contribution data” is consistent with economic research showing “that several of these different

 8   approaches [to measuring portfolio strength] can be used simultaneously and in combination to more

 9   effectively measure patent value.” Id. ¶ 4.5.27

10                  3.      Mr. Lasinski’s use of “Global Deemed SEPs” is reliable.
11           Samsung’s objections to Mr. Lasinski’s use of Global Deemed SEPs in constructing his
12   portfolio strength index are without merit. Mr. Lasinski conclusion that, in assessing the relative
13   value of two (or more) SEP portfolios, it is more informative to look at the number of patent families
14   in the portfolio with active members in the U.S., Europe, and China than it is to look simply at the
15   total number of patents in each portfolio, rests on two well-established propositions: (1) most of the
16   value of any patent portfolio is associated with a relatively small number of inventions; and (2) one
17   way to identify the most valuable inventions in a portfolio is to look for those for which the patentee
18   sought and obtained patent protection in multiple jurisdictions. Stake Ex. 1 ¶¶ 86, 88. Indeed, Dr.
19   Leonard recognizes both of these points. E.g., Stake Ex. 12 ¶ 188 (analysis predicated on the view
20   that approximately 80% of the value of a given patent portfolio is captured by just the top 20% of
21   patents in the portfolio); Stake Ex. 8 ¶ 180 (opining that, because “filing patents in multiple
22   jurisdictions involves additional costs and risk of rejections,” it “makes economic sense for the
23   patent owner to apply in multiple jurisdictions only for its more valuable patents.”) (emphasis
24
     27
        Samsung’s citation to an excerpt of the testimony of Apostolos Kakaes in the TCL matter (Mot. 18
25   n.15 & Ex. 4) does not warrant rejection of Mr. Lasinski’s reliance on Approved Contributions in
     this case. It is unclear from the excerpt of Dr. Kakaes’s testimony what data and methodology he
26   employed in an attempt to assess the correlation between Ericsson’s technical contributions and the
     subset of Ericsson’s patents he considered, but his results do not undermine the results of Samsung’s
27   own study showing a high correlation between firms’ technical contributions and their most highly
     rated patents and the additional support for using Approved Contributions discussed by Dr. Jackson.
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 1   added).28 Applying these principles to the case at hand, Mr. Lasinski finds that he obtains a more
 2   consistent and coherent set of results in analyzing the parties’ comparable license agreements
 3   (accounting for the degree of variation in the results and their consistency with accepted estimates of
 4   the appropriate aggregate royalty rate for the industry) when using an index accounting for the
 5   number of the firms’ multi-jurisdictional Global Deemed SEPs and Approved Contributions than he
 6   does by looking at other measures, including the alternative portfolio strength measures not focused
 7   on multi-jurisdictional patents proposed by Dr. Leonard. Stake Ex. 1 ¶¶ 82-87 & App. D; Stake Ex.
 8   5 ¶¶ 5-10. This statistical analysis demonstrates the reliability of Mr. Lasinski’s use of Global
 9   Deemed SEPs to measure relative portfolio strength.
10            Mr. Lasinski’s use of Global Deemed SEPs does not suggest, as Samsung claims, that “any
11   patents without corresponding family members in the U.S., Europe, and China” are “worthless.”
12   Mot. 19. As Mr. Lasinski explained in his opening report, his use of Global Deemed SEPs is as an
13   indicator of relative portfolio value:
14                   Such an application does not require the conclusion that all other
                     declared and/or deemed SEPs have no value whatsoever, but simply
15                   that a company’s share of Global Deemed SEP Families is more
                     indicative of relative portfolio strength when assessing a global license
16                   than its share of declared SEPs families and/or deemed SEP families
                     with issued members in any one jurisdiction anywhere in the world
17                   would be.29

18            Nor is Mr. Lasinski’s focus on patent coverage in the U.S., Europe, and China arbitrary or

19   unfairly biased in Huawei’s favor. Indeed, Mr. Lasinski’s focus on these three jurisdictions is based

20   on the fact that they collectively represent a very significant portion of both party’s smartphone

21   sales—                          and over                   . Id. ¶ 83 & Fig. 32. Moreover, considering

22   the degree of patent coverage in China is particularly important because both Huawei and Samsung

23   (like most of the industry) manufacture a very substantial portion of their smartphones there. Id. ¶

24   28
        In support of this proposition, Dr. Leonard cites Harhoff, D., et al., “Citations, Family Size,
25   Opposition and the Value of Patent Rights,” Research Policy, Vol. 32 (2003) (“measures of family
     size … contribute to an approximation of the patent right’s value”) and Fischer, T. & J. Leidinger,
26   “Testing Patent Value Indicators on Directly Observed Patent Value – An Empirical Analysis of
     Ocean Tomo Patent Auctions,” Research Policy, Vol. 43 (2014) (“The expansion of patent
27   protection [to multiple jurisdictions] involves additional costs—e.g., translation, patent attorneys’
     filing fees, examination fees—for every jurisdiction. If the applicant chooses to spend additional
28   money, the exclusion right should be worth the extra costs.”).
     29
        Stake Ex. 1 ¶ 87.

                                                        23
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 1   84 n.195; Stake Ex. 8 (at Ex. 6a (
 2                                               )). Contrary to Samsung’s claim that his approach is
 3   biased in Huawei’s favor because it has “many Chinese patents as a Chinese company” (Mot. 19), by
 4   counting as Global Deemed SEPs only those Chinese patent families with members in the U.S. and
 5   Europe, Mr. Lasinski’s approach actually reduces the advantage in total patent counts that Huawei
 6   would have based on its large number of Chinese patents. Stake Ex. 4 ¶ 56 & Fig. 13. Thus, while
 7   Dr. Leonard claims that Mr. Lasinski’s measure of relative portfolio strength based on Deemed
 8   Global SEPs excludes 79.4% of Samsung’s presumably lower-value U.S. 4G smartphone patent
 9   families for which it has not obtained patent coverage in Europe and China (Mot. 20), Mr. Lasinski’s
10   approach likewise excludes 68% of Huawei’s Chinese patent families for which it has not yet
11   obtained coverage in the U.S. and Europe.30 The net results show that Huawei has a somewhat
12   greater number of patent families than Samsung with active members in all three of the key global
13   jurisdictions than does Samsung. Stake Ex. 4 ¶ 56. That Samsung does not like that result—or Mr.
14   Lasinski’s appropriate consideration of Approved Contributions of which Huawei has many, many
15   more than Samsung—in no way indicates that Mr. Lasinski’s analysis is unreliable or inadmissible.
16           G.     Dr. deLisle’s Report Is Proper Rebuttal To The Positions Taken By Samsung’s
                    Experts in their Opening Reports.
17
             Samsung moves to strike as improper rebuttal the report of Dr. Jacques deLisle, who opines
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     on the quality and integrity of the Chinese courts, specifically those that have heard (or will hear) the
19
     patent infringement suits filed by Huawei and Samsung. Mot. 20. Samsung’s motion fails.
20
             Dr. deLisle’s report is proper rebuttal. In its opening expert reports, Samsung’s experts
21
     opined that Huawei’s pursuit of injunctive relief against Samsung in Chinese courts for the
22
     infringement of SEPs was improper, and particularly that it would allow Huawei to hold-up
23
     Samsung in breached Huawei’s FRAND obligations in violation of U.S. antitrust law.31 In response,
24
     Huawei disclosed the report of Dr. deLisle, an expert on Chinese law and procedure, who
25
     appropriately explained what actually happened procedurally and as a matter of law in the actions
26

27   30
        Stake Ex. 7, Table 11 (showing that Huawei has 345 deemed essential patent families in China,
28   but only 108 families with coverage in the U.S., Europe, and China—(345-108)/345 = 68.7%).
     31
        See Stake Ex. 8 §§ VI, VI.D & ¶¶ 141-144; Ex. 10 ¶¶ 18, 56.

                                                        24
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 1   before the Shenzhen Intermediate People’s Court—the only Chinese court to have issued a decision
 2   in Huawei and Samsung’s myriad SEP infringement lawsuits. Stake Ex. 15 ¶¶ 16-17. Dr. deLisle
 3   explained that the actions in Shenzhen—before one of the highest quality courts in China—appeared
 4   to have been decided fairly and consistently with Chinese procedure, did not indicate any bias
 5   toward Huawei or against Samsung, and indicated that the Shenzhen Court had thoroughly assessed
 6   the parties’ compliance with FRAND obligations prior to issuing injunctive relief. Id. ¶ 23. Such
 7   opinions are directly responsive to, and intended to defuse, the claims in Samsung’s opening expert
 8   reports regarding Chinese injunctions.32 See Matthew Enter., Inc. v. Chrysler Grp., LLC, No. 13-cv-
 9   04236-BLF, 2016 WL 4272430, at *1 (N.D. Cal. Aug. 3, 2016) (“The proper function of rebuttal
10   evidence is to contradict, impeach or defuse the impact of the evidence offered by an adverse
11   party.”). Even if Dr. deLisle’s opinions were not proper rebuttal, there would be no basis to strike
12   them because Samsung has suffered no harm from the timing of disclosure. Id. at *2. The only
13   harm Samsung has articulated is that it “did not have an opportunity to submit an expert report
14   regarding the issues in Dr. deLisle’s report,” but that is simply false. Mot. 21. Shortly after the
15   submission of rebuttal reports, Huawei and Samsung discussed opinions each party contended had
16   been inappropriately introduced in rebuttal expert reports, including Dr. deLisle’s report. Ex. 13. To
17   resolve the dispute, Samsung proposed—and Huawei agreed—that Huawei would be able to submit
18   supplemental reports by Dr. Jackson, Dr. Padilla, and Mr. Lasinski, and Samsung would, at its
19   option, have the opportunity to submit a supplemental report responding to Dr. deLisle. Id.
20   Samsung elected not to do so. Having bypassed its opportunity to submit a response to Dr. deLisle’s
21   report, Samsung cannot now claim it has been prejudiced by the sequence of events here.
22   IV.     CONCLUSION
23           Huawei respectfully requests this Court grant deny Samsung’s motion to exclude.
24
     32
25     Samsung contends Dr. deLisle’s report is not rebuttal because he had not reviewed any of
     Samsung’s expert reports. Mot. 21. However, Samsung offers no authority for a requirement that an
26   expert directly review or cite to the opposing party’s expert reports in order to properly rebut them.
     To the contrary, it is entirely appropriate for an expert to rely upon understandings from counsel
27   regarding its assignment, particularly where the rebuttal expert is responding to expert reports that
     have been marked highly confidential and the expert does not need to be cleared under the protective
28   order in order to provide his opinions. Such is precisely the case with respect to Dr. deLisle’s
     opinions on Chinese law, procedure, and the public decisions by the Shenzhen court.

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